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                           EXHIBIT D
              Case 2:20-cv-02161-SVW-MRW Document 21-4 Filed 08/05/20 Page 2 of 4 Page ID #:162



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                            2        TROUTMAN PEPPER HAMILTON
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                                     San Diego, CA 92130
                            4        Telephone: 858.509.6056
                                     Facsimile: 858.509.6040
                            5

                            6        Attorney for Defendant
                                     John C. Heath Attorney at Law, PC
                            7        d/b/a Lexington Law Firm
                            8                             UNITED STATES DISTRICT COURT
                            9                           CENTRAL DISTRICT OF CALIFORNIA
                                                        (WESTERN DIVISION – LOS ANGELES)
                           10

                           11
                                     Lucine Trim, et al.,                   Case No. 2:20-cv-02161-SVW-MRW
                           12
                                                     Plaintiffs,            DEFENDANT JOHN C. HEATH
                           13                                               ATTORNEY AT LAW, PC D/B/A
                                           v.                               LEXINGTON LAW FIRM’S
                           14                                               RESPONSES TO PLAINTIFFS’ FIRST
                                     John C. Heath Attorney at Law, PC      SET OF REQUESTS FOR THE
                           15        d/b/a Lexington Law Firm,              PRODUCTION OF DOCUMENTS
                                                                            AND FOR THE INSPECTION OF
                           16                        Defendant.             TANGIBLE THINGS
                           17

                           18

                           19

                           20                                      Judge:
                           21
                                           Defendant John C. Heath Attorney at Law, PC d/b/a Lexington Law Firm
                           22
                                     (“Lexington”), by counsel, submits the following responses to Plaintiffs’ First Set
                           23
                                     of Requests for the Production of Documents and for the Inspection of Tangible
                           24
                                     Things.
                           25

                           26
                           27

                           28
   T ROUTMAN P EPPER                                                                   DEFENDANT’S RESPONSES TO
H AMILTON S ANDERS LLP                                                                 PLAINTIFFS’ FIRST REQUESTS FOR
   11682 E L C A M I N O R E A L
           S U I T E 400                                                               PRODUCTION OF DOCUMENTS
 S A N D I E G O , C A 92130 -2092
                 Case 2:20-cv-02161-SVW-MRW Document 21-4 Filed 08/05/20 Page 3 of 4 Page ID #:163



                                   1
                                   2         Document Request No. 6: All Documents sufficient to Identify the Dialing
                                   3   Equipment used to make the calls to Plaintiffs, including all software and hardware
                                   4   components.
                                   5

                                   6         Response: Lexington objects to the extent the phrases “the calls” and “all
                                   7   software and hardware components” are vague and ambiguous.
                                   8         Subject to and without waiving the foregoing objections, Lexington responds
                                   9   as follows: see LEXLAW_TRIM000003–LEXLAW_TRIM001042.
                             10

                             11              Document Request No. 7: All Documents supporting Your assertion, if
                             12        any, that Plaintiffs are inadequate to serve as Class Representatives.
                             13

                             14              Response: Lexington objects to this Document Request to the extent that it
                             15        seeks information protected by the attorney-client privilege, the attorney work-
                             16        product doctrine, or any other applicable rule of privilege, immunity or
                             17        confidentiality provided by law. Lexington objects to this Interrogatory to the
                             18        extent that it is premature because discovery is ongoing. Lexington expressly
                             19        reserves its right to supplement its response to this Interrogatory.
                             20              Subject to and without waiving the foregoing objections, Lexington responds
                             21        as follows: none.
                             22

                             23              Document Request No. 8: All Documents supporting Your assertion, if
                             24        any, that Plaintiff's attorneys are inadequate to serve as Class Counsel.
                             25

                             26              Response: Lexington objects to this Document Request to the extent that it
                             27        seeks information protected by the attorney-client privilege, the attorney work-
                             28        product doctrine, or any other applicable rule of privilege, immunity or
   T ROUTMAN P EPPER                                                                    DEFENDANT’S RESPONSES TO
H AMILTON S ANDERS LLP                                                       -5-        PLAINTIFFS’ FIRST REQUESTS FOR
   11682 E L C A M I N O R E A L
           S U I T E 400
                                                                                        PRODUCTION OF DOCUMENTS
 S A N D I E G O , C A 92130 -2092
                 Case 2:20-cv-02161-SVW-MRW Document 21-4 Filed 08/05/20 Page 4 of 4 Page ID #:164



                                   1   confidentiality provided by law. Lexington objects to this Interrogatory to the
                                   2   extent that it is premature because discovery is ongoing. Lexington expressly
                                   3   reserves its right to supplement its response to this Interrogatory.
                                   4         Subject to and without waiving the foregoing objections, Lexington responds
                                   5   as follows: none.
                                   6

                                   7         Document Request No. 9: Copies of any subpoenas You cause to be issued
                                   8   or served in the case together with proofs of service, if any, and any responsive
                                   9   materials received.
                             10

                             11              Response: None.
                             12

                             13              Document Request No. 10:           The sworn or unsworn statements of any
                             14        witnesses.
                             15
                             16              Response:       Lexington objects to the extent this Document Request is
                             17        generally vague and ambiguous.
                             18              Subject to and without waiving the foregoing objections, Lexington responds
                             19        as follows: none.
                             20

                             21              Document Request No. 11:           All Documents sufficient to Identify any
                             22        policies, practices, procedures, or any other steps You have caused to be taken to
                             23        ensure compliance with the TCPA or any telemarketing rules or regulations.
                             24

                             25              Response: Lexington objects to this Document Request to the extent that the
                             26        phrase “any telemarketing rules or regulations” is vague and ambiguous. Lexington
                             27        further objects to the extent this Document Request is overbroad, not proportional
                             28        to the needs of this case, and seeks documents not relevant to any party’s claims or
   T ROUTMAN P EPPER                                                                    DEFENDANT’S RESPONSES TO
H AMILTON S ANDERS LLP                                                       -6-        PLAINTIFFS’ FIRST REQUESTS FOR
   11682 E L C A M I N O R E A L
           S U I T E 400
                                                                                        PRODUCTION OF DOCUMENTS
 S A N D I E G O , C A 92130 -2092
